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                   APPENDIX OF PLAINTIFFS’ EXHIBITS


Exhibits to Declaration of Elizabeth C. Pritzker

Exhibit 1            Expert Report of Professor Zubair Shafiq, Ph.D.

Exhibit 2            Expert Report of Professor Christopher Wilson, Ph.D.

Exhibit 3            Expert Report of Professor Robert Zeithammer, Ph.D.

Exhibit 4            Expert Report of Greg Regan, CPA/CFF, CFE

Exhibit 5            Expert Report of Professor Neil Richards

Exhibit 6            Excerpts of deposition of Plaintiff Terry Diggs

Exhibit 7            Excerpts of deposition of Plaintiff Rethena Green

Exhibit 8            Excerpts of deposition of Plaintiff John Kevranian

Exhibit 9            Excerpts of deposition of Plaintiff Salvatore Toronto

Exhibit 10           Excerpts of deposition of Plaintiff Christopher Valencia

Exhibit 11           Excerpts of deposition of Plaintiff Kimberley Woodruff

Exhibit 12           GOOG-HEWT-00349634 - RTB Top Spenders May 2018

Exhibit 13           GOOG-HEWT-00455800 – account holder numbers

Exhibit 14           Google’s April 10, 2023 verified responses to Interrogatories Nos. 11
                     and 12; Google’s June 29, 2023 verified supplemental responses to
                     Interrogatories No. 11 and 12

Exhibit 15           GOOG-HEWT-00455648 – “Gross Revenue RTB (2017-2022)”

Exhibit 16           GOOG-HEWT-00000767 – content verticals

Exhibit 17           Excerpts of deposition of Google employee George Levitte

Exhibit 18           Excerpts of deposition of Google employee Glenn Berntson

Exhibit 19           GOOG-HEWT-00456419 “[Comms Doc]””




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Exhibit 20          GOOG-HEWT-00098506 –10/8/2018

Exhibit 21          GOOG-HEWT-00481219 – last updated: August 2019

Exhibit 22          GOOG-HEWT-00481225 – “Strat Paper” - last modified 5/13/2020

Exhibit 23          GOOG-HEWT-00480493 - last modified 8/26/2020

Exhibit 24          GOOG-HEWT-00099180 – 9/24/2020

Exhibit 25          GOOG-HEWT-00330759 – Comments document – 7/28/2021

Exhibit 26          GOOG-HEWT-0035713 -- 6/14/2019

Exhibit 27          Google’s June 29, 2023 Objection to Request for Production No. 117

Exhibit 28          Firm Resume of Pritzker Levine LLP

Exhibit 29          Firm Resume of Bleichmar Fonti & Auld LLP

Exhibit 30          Firm Resume of Cotchett Pitre & McCarthy LLP

Exhibit 31          Firm Resume of Simmons Hanley Conroy LLC

Exhibit 32          Firm Resume of DiCello Levitt LLC

Exhibit 33          Firm Resume of Bottini & Bottini, Inc.

Exhibits to Declaration of Bethany Caracuzzo – Google’s Representations

Exhibit 34          Google’s September 10, 2015 “Privacy & Terms – Technologies –
                    Privacy Principles” [GOOG-HEWT-00058417]

Exhibit 35          June 28, 2016 Google Privacy Policy (Ex. 6 to CCAC)

Exhibit 36          May 25, 2018 Google Privacy Policy (Ex. 12 to CCAC)

Exhibit 37          September 20, 2018 “Safety Center – Our Privacy & Security
                    Principles” [GOOG-HEWT-00459543]

Exhibit 38          February 22, 2020 “How Our Business Works” (Ex. 5 to CCAC (March
                    21, 2021 downloaded version))

Exhibit 39          March 31, 2020 Google Terms of Service (Ex. 4 to CCAC)




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Exhibit 40         March 31, 2020 Google Privacy Policy (Ex. 16 to CCAC)

Exhibit 41         January 5, 2022 Google Terms of Service (current)

Exhibit 42         Google’s June 28, 2016 “Consent Bump” [GOOG-HEWT-00456456]




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